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                          COMMONWEALTH OF MASSACHUSETTS

MIDDLESEX. SS                                        MIDDLESEX SUPERIOR COURT
                                                     DOCKET NO.:
                                                                                          hlLkb           ""
                                             )                                      IN THE OFFICE OFTHE
MICHELLE BELTRAN                             )                                     CLERK OFCOURTS
                                                                                FOR THE COUN1YOF MlOOIfSEX
     Plaintiff,                              )
                                             )                                      APR -9 2019
V.                                           )
                                             )
BEST BUY STORES, L.P.                        )                                          CLERK
      Defendant.                             )
                                             )

                             COMPLAINT AND JURY DEMAND

       NOW COMES Plaintiff. Michelle Beltran, by and through her attorneys, SWARTZ &

LYNCH, LLP, for her causes of action against the above-named Defendant and hereby alleges and

states the following:

                                             PARTIES

       1.      Plaintiff. Michelle Beltran is an individual with a primary residence in Newton.

Middlesex County. Massachusetts.

       2.      Upon information and belief. Defendant, Best Buy Stores, L.P. (hereinafter “Best

Buy”) is a foreign corporation with a principal place of business located at 7601 Penn Avenue South

in Richfield, Minnesota. Best Buy has appointed CT Corporation System, 155 Federal Street,

Boston, Massachusetts as its agent for service of process.

       3.      Plaintiffs cause of action arises from the Defendant (1) transacting business in

Massachusetts, (2) contracting to supply goods in Massachusetts, (3) causing tortuous injury by an

act or omission in Massachusetts, and/or (4) causing tortuous injury in Massachusetts by an act or

omission outside the Commonwealth and the defendant does or solicits business or engages in a

persistent course of conduct or derives substantial revenue from the sale of goods in Massachusetts.
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                                                FACTS
       4.       On or about July 11, 2016, Plaintiff, Michelle Beltran (hereinafter “Plaintiff”) was

lawfully on the premises of the Defendant’s retail store located at or near 84 Middlesex Turnpike,

Burlington, Massachusetts (“premises”).

       5.       On that date, Ms. Beltran was a patron on the premises.

       6.       While shopping on the premises, Ms. Beltran’s arm became caught in an electric

sliding door.

       7.       As a result of this incident, Ms. Beltran sustained serious personal injuries.

       8.       Ms. Beltran was caused serious personal injuries due to the negligence of Defendant,

including but not limited to its failure to maintain its premises in a reasonably safe condition and its

failure to adequately warn.

                                              COUNT I
                                              Negligence

       9.       Plaintiff realleges and reavers Paragraphs 1-8 as though fully set forth herein.

       10.      At all times relevant, Defendant owed a duty of reasonable care to the Plaintiff while

she was on the Defendant’s premises.

       11.      On or about July 11, 2016, Defendant breached its required standard of care when,

amongst other things:

       a.       Defendant negligently allowed dangerous defects to persist on its premises and

                negligently maintained its premises;

       b.       Defendant failed to adequately guard against the risk of injury posed by negligently

                maintaining its premises; and

       c.       Defendant knew or reasonably should have known of the dangerous condition on the

                premises.
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       12.      As a direct and proximate result of Defendant’s negligence, Plaintiff was caused to

suffer and continues to suffer from severe and painful personal injuries, conscious pain and

suffering, including mental pain and suffering, economic damages, as well as other injuries and

damages.

       WHEREFORE, the Plaintiff, Michelle Beltran, prays for judgment against Defendant Best

Buy for compensatory damages, punitive damages, attorney’s fees, costs and interest and whatever

other relief the Court deems just and fair.

                                             COUNTn
                                    Failure to Adequately Warn

       13.      Plaintiff realleges and reavers Paragraphs 1-12 as though fiilly set forth herein.

       14.      Defendant had a duty to adequately warn the Plaintiff of all dangerous conditions on

the premises.

       15.      Defendant failed to adequately warn Plaintiff of all dangerous conditions on the

premises.

       16.      As a direct and proximate result of Defendant’s failure to adequately warn, Plaintiff

was caused to suffer and continues to suffer from severe and painful personal injuries, experiences

conscious pain and suffering, including mental pain and suffering, economic damages, as well as

other injuries and damages.

        WHEREFORE, the Plaintiff, Michelle Beltran, prays for judgment against Defendant Best

Buy for compensatory damages, punitive damages, attorney’s fees, costs and interest and whatever

other relief the Court deems just and fair.

                                              COUNTin
                                 Breach of Express or Implied Warranties

       17.      Plaintiff realleges and reavers Paragraphs 1-16 as though fully set forth herein.
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       18.      Defendant expressly and impliedly warranted to the public, including Plaintiff,

Michelle Beltran, that the electric sliding door at their store was safe, merchantable, and fit for its

intended purposes and users. Amongst other things, said door safe, merchantable or fit for its
intended purposes because:

       a.     Defendant or its predecessors negligently assembled, constructed, inspected, tested,

              maintained, provided or distributed said door;

       b.     Defendant or its predecessors negligently failed to warn or instruct, or adequately warn

              or adequately instruct Plaintiff and other users of said product of its dangerous and

              defective characteristics, and of the safe and proper method of using said product;

       c.     Defendant or its predecessors negligently failed to properly distribute, assemble,

              construct, develop, and/or provide the door so as to offer adequate protection to the
              user;

       d.     Defendant or its predecessors negligently failed to warn or adequately warn that the

              door would not offer adequate protection to the user;

       e.     The door was in a defective and/or unreasonably dangerous condition and could not

              be used without unreasonable risk of injury to Plaintiff;

       19.      Plaintiff relied, to her detriment, on Defendant’s express and implied warranties.

       20.      Defendant breached its express and implied warranties because the door was not

safe, not of merchantable quality, and unfit for its intended uses and purposes.

       21.      Defendant placed a defective product in the stream of commerce knowing that it

would be used without substantial change and said product proved to be defective as a result of

Defendant’s failure to properly distribute, assemble, construct, develop, and/or provide the door in

a condition reasonably safe during the ordinary use and purpose.
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       22.      Defendant knew or should have known that placing the door into the stream of

commerce without adequately warning and/or instructing the users of the risks and hazards

associated therewith, would cause foreseeable injury, but did so nonetheless.

       23.      As a direct and proximate result of Defendant’s breaches of warranty with respect to

the door, Plaintiff was caused to sustain severe and permanent injuries, great pain of body and

mind, economic damages, as well as other injuries and damages.

        WHEREFORE, the Plaintiff, Michelle Beltran, prays for judgment against Defendant Best

Buy for compensatory damages, punitive damages, attorney’s fees, costs and interest and whatever
other relief the Court deems just and fair.

                                             COUNT IV
                       Breach of Express and Implied Warranties of Habitability

       24.      Plaintiff realleges and reavers Paragraphs 1-23 as though fully set forth herein.
       25.      On or about July 11, 2016, Plaintiff was lawfully on Defendant's premises.

       26.      At this time, while on the premises, Plaintiff, Michelle Beltran, sustained serious

and permanent personal injuries while on the property which was owned and/or controlled

Defendant.

       27.      At all times relevant herein, upon information and belief. Defendant owned,

managed and/or operated the premises.

       28.      By offering managing and/or operating the premises and/or by providing the door to

the public, including Plaintiff, Defendant Best Buy Stores, L.P. impliedly warranted that the

premises would be fit for habitation and use, and would be reasonably safe. Defendant breached

these warranties and the premises were not fit for habitation and use and were unreasonably

dangeroiu. Plaintiff relied upon said warranties to her detriment. As a direct and proximate result
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of Defendant’s breach of these warranties, Plaintiff suffered severe and personal injuries, great pain

of body and mind, economic damages as well as other injuries and damages.

        WHEREFORE, the Plaintiff, Michelle Beltran, prays for judgment against Defendant Best

Buy for compensatory damages, punitive damages, attorney’s fees, costs and interest and whatever

other relief the Court deems just and fair.

                                         JURY DEMAND

        Plaintiff hereby demands a jury trial on all counts.

                                      Respectfully submitted,
                                      PlaintifO^        Be]
                                      By hpr^ornj



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